        Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 1 of 18




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       Case No:
                                             :
               v.                            :       VIOLATIONS:
                                             :
JOHN EARLE SULLIVAN,                         :       18 U.SC. §§ 231(a)(3), 2
                                             :       (Civil Disorders)
                      Defendant.             :
                                             :       18 U.S.C. § 1752(a)
                                             :       (Restricted Building or Grounds)
                                             :
                                             :       40 U.S.C. § 5104(e)(2)
                                             :       (Violent Entry or Disorderly Conduct)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Matthew B. Foulger, being first duly sworn, hereby depose and state as follows:

                                   PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging JOHN

EARLE SULLIVAN (SULLIVAN) with violations of 18 U.S.C. §§ 231(a)(3) & 2, 18 U.S.C. §

1752(a), and 40 U.S.C. § 5104(e)(2). I respectfully submit that this Affidavit establishes probable

cause to believe that SULLIVAN (1) committed or attempted to commit, any act to obstruct,

impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful

performance of his official duties incident to and during the commission of a civil disorder which

in any way or degree obstructs, delays, or adversely affects the performance of any federally

protected function; (2) did knowingly enter or remain in any restricted building or grounds without

lawful authority, or did knowingly, and with intent to impede or disrupt the orderly conduct of

Government business or official functions, engage in disorderly or disruptive conduct, and (3) did

willfully and knowingly engage in disorderly or disruptive conduct, at any place in the Grounds or



                                                 1
         Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 2 of 18




in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of

a session of Congress or either House of Congress, or the orderly conduct in that building of any

deliberations of either House of Congress. Specifically, on or about January 6, 2021, SULLIVAN

knowingly and willfully joined a crowd of individuals who forcibly entered the U.S. Capitol and

impeded, disrupted, and disturbed the orderly conduct of business by the United States House of

Representatives and the United States Senate.

                                 BACKGROUND OF AFFIANT

       2.          I am a Special Agent with the United States Department of Justice, Federal

Bureau of Investigation (FBI), and have been employed in that capacity for nine years. I am

currently assigned to the Salt Lake City Division of the FBI and have primary investigative

responsibility for federal crimes related to national security and domestic terrorism. I gained

experience in the conduct of such investigations through previous case investigations, formal

training, and in consultation with law enforcement partners in local, state, and federal law

enforcement agencies. I have been trained to investigate federal crimes and have investigated an

array of complex federal crimes. I have training and experience in the use of cellular telephones

during and in the furtherance of criminal activity. I also have training and experience in the

searching of cellular telephones to ascertain evidence of criminal conduct that may be present on

such devices. In these investigations, I have been involved in the application for and execution of

numerous arrest and search warrants related to the aforementioned criminal offenses. Through my

training and experience, I am familiar with the actions, habits, traits, methods, and terminology

utilized by violent criminal offenders.

       3.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,



                                                 2
         Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 3 of 18




records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

                                         BACKGROUND

       4.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       5.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of

the public.

       6.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

       7.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep



                                                 3
         Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 4 of 18




the crowd away from the Capitol building and the proceedings underway inside. The crowd

included many people who expressly objected to the conduct of the proceedings to certify the vote

count of the Electoral College of the 2020 Presidential Election, and who expressly stated that their

purpose was to stop or disrupt those proceedings.

        8.     At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the U.S. Capitol Police, including by

engaging in assaultive and abusive conduct towards officers of the U.S. Capitol Police who lawfully

attempting to block access to the U.S. Capitol. The crowd then advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials.

        9.     At such time, the certification proceedings, specifically, the proceedings in the

House and Senate to address the objection, were still underway and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted

to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,

individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and assisted those

acts.

        10.    Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings

of the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry



                                                 4
            Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 5 of 18




to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had been

secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

        11.      SULLIVAN, DOB 07/18/1994, is a resident of Utah. Based on publicly available

information and information provided by SULLIVAN in an interview on January 7, 2021, described

further below, SULLIVAN is the leader of an organization called Insurgence USA through which

he organizes protests. On July 13, 2020, SULLIVAN was charged with Rioting and Criminal

Mischief by the local law enforcement authorities in Provo, Utah, based on his activities around a

June 30, 2020, protest in which a civilian was shot and injured. The case is still pending.

        12.      The United States obtained a video of SULLIVAN, posted on YouTube, in which,

while attending a protest in Washington, D.C., SULLIVAN can be seen telling a crowd, over a

microphone, “we about to burn this shit down,” “we got to rip Trump out of office . . . fucking pull

him out of that shit . . . we ain’t waiting until the next election . . . we about to go get that

motherfucker.” SULLIVAN then can be seen leading the crowd in a chant of, “it’s time for a

revolution.” 1

                  STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

        13.      On January 7, 2021, SULLIVAN participated in a voluntary interview with a Federal

Bureau of Investigation Special Agent in Washington, D.C. SULLIVAN identified himself to the


        1
         Your affiant understands that SULLIVAN’s other conduct does not provide a basis for
finding probable cause he committed the offenses alleged in this affidavit. I provide this
information as background and as evidence of SULLIVAN’s intent and modus operandi as would
be admissible under Fed. R. Evid. 404(b).

                                                 5
         Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 6 of 18




agent and provided identifying information, including his date of birth, address, social media

identifiers, and phone numbers. In the interview, SULLIVAN stated that he was in Washington,

D.C. to attend and film the “Stop the Steal” March on January 6, 2021. SULLIVAN claimed to be

an activist and journalist that filmed protests and riots, but admitted that he did not have any press

credentials.

       14.      SULLIVAN also stated that he was at the U.S. Capitol on January 6, 2021, when

scores of individuals entered it. SULLIVAN stated he was wearing a ballistic vest and gas mask

while there. He showed the interviewing agent the ballistic vest. He further stated that he entered

the U.S. Capitol with others through a window that had been broken out. SULLIVAN stated he

followed the crowd as the crowd pushed past U.S. Capitol Police and followed the crowd into the

U.S. Capitol.

       15.      SULLIVAN further stated that he had been present at the shooting of a woman

within the U.S. Capitol by a U.S. Capitol Police officer and that he had filmed the incident. During

the interview, SULLIVAN showed the interviewing agent the footage he had taken, which

SULLIVAN stated he had uploaded to the Internet. The footage showed the area immediately

outside of the Speaker’s Lobby within the U.S. Capitol. I know from public source information

that the Speaker’s Lobby is the hallway from which one can enter directly into the chamber of the

U.S. House of Representatives. The Speaker’s Lobby is set off from the rest of the Capitol Building

by doors with glass windows. The footage that SULLIVAN showed the interviewing agent

included footage of individuals breaking out the glass from the windows in the doors leading into

the Speaker’s Lobby, then a gun being discharged by a U.S. Capitol Police officer within the

Speaker’s Lobby, and a woman falling back into the crowd from a position of climbing through the

opening in one of the broken windows with a gunshot would. This woman was later identified as



                                                  6
            Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 7 of 18




Victim 1.

        16.     SULLIVAN also voluntarily provided two phone numbers and multiple social media

accounts and identifiers to special agents, including a YouTube account username, JaydenX.

        17.     At the conclusion of the interview, SULLIVAN stated that he was willing to

voluntarily provide a copy of all footage he recorded within the U.S. Capitol to law enforcement

authorities.

        18.     On January 9, 2021, a task force officer with the FBI made contact with SULLIVAN

at one of the phone numbers SULLIVAN provided during his January 7 interview to follow up on

SULLIVAN’s offer to voluntarily provide his footage. SULLIVAN told the task force officer that

the video he took within and around the U.S. Capitol on January 6, 2021, was in an iCloud account.

The same day, SULLIVAN sent a link to law enforcement from a Google Photos account under the

name “John Sullivan,” with an approximately 50 minute video. I have reviewed the video. 2

        19.     The video footage records approaching, entering, and moving through the U.S.

Capitol on January 6, 2021. Although the video rarely shows SULLIVAN, at various points during

it, SULLIVAN narrates as he is moving and can be heard speaking to other individuals and law

enforcement officers. I recognize SULLIVAN’s voice in the video based on a January 11, 2021

voluntary interview I conducted with SULLIVAN at his residence, as described further below. In

addition, at one point the camera pans to an individual wearing a tactical vest and holding a gas

mask, as seen in the screenshots below, that match those SULLIVAN showed me during the

interview conducted on January 11, 2021, also as further described in the paragraphs below:




        2
          A portion of the video with all of the clips discussed in this affidavit is also publicly
available     on     a      YouTube       channel      attributed     to      “JaydenX”       here:
https://www.youtube.com/watch?v=PfiS8MsfSF4&bpctr=1610480291 (last visited on January 13,
2021).

                                                7
        Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 8 of 18




       20.    Among other things, the video SULLIVAN recorded and provided to law

enforcement includes the following:

              a.     SULLIVAN filming at the front of a crowd as they push through police



                                            8
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 9 of 18




    barriers on the west side of the U.S. Capitol. At the first moment the crowd breaks

    through, SULLIVAN can be heard saying, “they’re going in.” The video follows

    the crowd as they move toward the Capitol Building where SULLIVAN captured

    additional scenes of individuals breaking through police barriers:




    b.     After the crowd broke through the last barricade, and as SULLIVAN and the

    others approach the Capitol Building, SULLIVAN can be heard in the video saying

    at various points: “There are so many people. Let’s go. This shit is ours! Fuck yeah,”

    “We accomplished this shit. We did this together. Fuck yeah! We are all a part of

    this history,” and “Let’s burn this shit down.”

    c.     Later, SULLIVAN’s video includes footage of individuals climbing a wall

    to reach a plaza just outside the Capitol Building entrance, as seen in the screenshot

    below. As individuals are climbing the wall, SULLIVAN can be heard saying, “You

    guys are fucking savage. Let’s go!”




                                      9
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 10 of 18




     d.     At one point, SULLIVAN can be heard telling one of the individuals

     climbing the wall to give SULLIVAN his hand as individuals in the crowd are

     calling to help people up the wall.

     e.     The video records SULLIVAN’s entrance into the U.S. Capitol building

     through a broken window:




                                       10
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 11 of 18




     f.       SULLIVAN, once inside the Capitol Building, roamed the building with

     other individuals who unlawfully entered. During one of his interactions with

     others, SULLIVAN can be heard in the video saying, “We gotta get this shit burned.”

     At other times as he is walking through the Capitol, SULLIVAN can be heard

     saying, among other things, “it’s our house motherfuckers” and “we are getting this

     shit.”

     g.       In addition, several times during the video, SULLIVAN encounters law

     enforcement officers who are trying to prevent further advancement through the

     building by those who entered unlawfully. In at least two encounters, SULLIVAN

     can be heard on the video arguing with the officers, telling them to stand down so

     that they do not get hurt. Among other things, SULLIVAN can be heard telling

     officers, “you are putting yourself in harm’s way,” “the people have spoken,” and

     “there are too many people, you gotta stand down, the people out there that tried to

     do that shit, they got hurt, I saw it, I’m caring about you.”

     h.       At one point in the video, SULLIVAN enters an office within the U.S.

     Capitol, as seen in the screenshot below. Once inside the office, SULLIVAN

     approaches a window, also seen in the screenshot below, and states, “We did this

     shit. We took this shit.”




                                       11
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 12 of 18




     i.     While at the window, a knocking noise is heard off-screen. The camera then

     pans to show more of the window and a broken pane can be seen that was not broken

     on SULLIVAN’s approach to the window:




     SULLIVAN can then be heard saying, “I broke it. My bad, my apologies. Well

     they already broke a window, so, you know, I didn’t know I hit it that hard. No one


                                     12
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 13 of 18




     got that on camera.” SULLIVAN then exits the office.

     j.      At another point in the video, SULLIVAN joins a crowd trying to open doors

     to another part of the U.S. Capitol which are guarded by law enforcement officers,

     as seen in the screenshot below. SULLIVAN can be heard on the video telling other

     individuals in the crowd, “there’s officers at the door.” Less than two minutes later,

     while officers are still at the doors and as others yell to break the glass windows in

     them with various objects, SULLIVAN can be heard saying, “Hey guys, I have a

     knife. I have a knife. Let me up.” SULLIVAN does not, however, ever make it to

     the doors.




     k.      Eventually, individuals in the crowd outside the doors announce that the

     officers are leaving and “giving us the building.” As the crowd begins to part so the

     officers can leave, SULLIVAN can be heard saying, “Haul that motherfucker out

     this bitch.”

     l.      At another time in the video, SULLIVAN is walking down a hallway in the


                                      13
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 14 of 18




     U.S. Capitol with a large group of people. SULLIVAN pans to a closed door and

     can be heard saying, “Why don’t we go in there.” After someone hits against the

     door, SULLIVAN can be heard saying, “That’s what I’m sayin’, break that shit.”

     Further down the hall, SULLIVAN can be heard saying, “It would be fire if someone

     had revolutionary music and shit.”

     m.       In the video, once SULLIVAN reaches the Speaker’s Lobby, where Victim

     1 was eventually shot, SULLIVAN can be heard telling one of the law enforcement

     officers guarding the doors, as seen in the screenshot below, “We want you to go

     home. I’m recording and there’s so many people and they’re going to push their

     way up here. Bro, I’ve seen people out there get hurt. I don’t want to see you get

     hurt.”




     n.       Eventually, the law enforcement officers begin to exit and individuals within

     the crowd move toward the doors. As this is happening, SULLIVAN can be heard

     yelling after the officers, “I want you to go home,” and then yelling, “Go! Go! Get


                                       14
        Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 15 of 18




               this shit!” SULLIVAN then films as others in the crowd try to break out the glass

               in the entryway door windows. Shortly thereafter, the video includes footage of

               Victim 1 getting shot as she tries to enter through the window opening.

       21.     Subsequent to the events at the U.S. Capitol, SULLIVAN provided interviews to

various news outlets including CNN and ABC’s Good Morning America program.                   In the

interviews, SULLIVAN described the scene inside the Capitol Building on January 6, 2021.

       22.     On January 11, 2021, your affiant conducted a voluntary interview with SULLIVAN

at SULLIVAN’s residence. The interview was recorded. In the interview, SULLIVAN again

confirmed that he was in the U.S. Capitol, but denied having a knife. He also showed me the

ballistic vest and two gas masks he stated he had in Washington, D.C. Based on my review of the

video described above, the ballistic vest and one of the gas masks that SULLIVAN showed during

the interview on January 11, 2021, is the same seen in the video of SULLIVAN’s activities at the

U.S. Capitol on January 6, 2021.

       23.     At various times in his statements to law enforcement, to others inside the U.S.

Capitol that were recorded in his video, and to news outlets, SULLIVAN has claimed he was at the

U.S. Capitol only to document and report. In addition, your affiant is aware that, at various times,

SULLIVAN has claimed to be a journalist. He has admitted, however, that he has no press

credentials and the investigation has not revealed any connection between SULLIVAN and any

journalistic organizations.

                                CONCLUSIONS OF AFFIANT

       24.     Based on the foregoing, your affiant submits that there is probable cause to believe

that SULLIVAN violated:

               a.      18 U.S.C. §§ 231(a)(3) & 2, which makes it a crime to commit or attempt to



                                                15
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 16 of 18




     commit, any act to obstruct, impede, or interfere with any fireman or law

     enforcement officer lawfully engaged in the lawful performance of his official duties

     incident to and during the commission of a civil disorder which in any way or degree

     obstructs, delays, or adversely affects the performance of any federally protected

     function;

     b.     18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain

     in any restricted building or grounds without lawful authority to do; (2) knowingly,

     and with intent to impede or disrupt the orderly conduct of Government business or

     official functions, engage in disorderly or disruptive conduct in, or within such

     proximity to, any restricted building or grounds when, or so that, such conduct, in

     fact, impedes or disrupts the orderly conduct of Government business or official

     functions; (3) knowingly, and with the intent to impede or disrupt the orderly

     conduct of Government business or official functions, obstruct or impede ingress or

     egress to or from any restricted building or grounds; or (4) knowingly engage in any

     act of physical violence against any person or property in any restricted building or

     grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18,

     a restricted building includes a posted, cordoned off, or otherwise restricted area of

     a building or grounds where the President or other person protected by the Secret

     Service is or will be temporarily visiting; or any building or grounds so restricted in

     conjunction with an event designated as a special event of national significance; and

     c.     40 U.S.C. § 5104(e)(2)(D), which makes it a crime for an individual or group

     of individuals to willfully and knowingly (A) enter or remain on the floor of either

     House of Congress or in any cloakroom or lobby adjacent to that floor, in the



                                       16
Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 17 of 18




       Rayburn Room of the House of Representatives, or in the Marble Room of the

       Senate, unless authorized to do so pursuant to rules adopted, or an authorization

       given, by that House; (B) enter or remain in the gallery of either House of Congress

       in violation of rules governing admission to the gallery adopted by that House or

       pursuant to an authorization given by that House; (C) with the intent to disrupt the

       orderly conduct of official business, enter or remain in a room in any of the Capitol

       Buildings set aside or designated for the use of— (i) either House of Congress or a

       Member, committee, officer, or employee of Congress, or either House of Congress;

       or (ii) the Library of Congress; (D) utter loud, threatening, or abusive language, or

       engage in disorderly or disruptive conduct, at any place in the Grounds or in any of

       the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly

       conduct of a session of Congress or either House of Congress, or the orderly conduct

       in that building of a hearing before, or any deliberations of, a committee of Congress

       or either House of Congress; (E) obstruct, or impede passage through or within, the

       Grounds or any of the Capitol Buildings; (F) engage in an act of physical violence

       in the Grounds or any of the Capitol Buildings; or (G) parade, demonstrate, or picket

       in any of the Capitol Buildings; and

25.    As such, I respectfully request that the court issue an arrest warrant for SULLIVAN.


The statements above are true and accurate to the best of my knowledge and belief.




                                     _________________________________
                                     SPECIAL AGENT MATTHEW B. FOULGER
                                     FEDERAL BUREAU OF INVESTIGATION



                                        17
        Case 1:21-cr-00078-RCL Document 1-1 Filed 01/13/21 Page 18 of 18




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of January, 2021.
                                                                     Robin M. Meriweather
                                                                     2021.01.13 17:59:07
                                                                     -05'00'
                                             ___________________________________
                                             HON. ROBIN M. MERIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE




                                               18
